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11   Central District of California
12   Attorneys for the United States of America
13                          UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15   UNITED STATES OF AMERICA,                )
16      et al.,                               )
                                              )   CASE N0. 91-0589 (CJC)
17                       Plaintiffs,          )
18                  v.                        )   CERTIFICATE OF SERVICE
                                              )
19   SHELL OIL COMPANY, et al.,               )
20                                            )    Date:      August 10, 2020
                         Defendants.          )    Time:      1:30 P.M.
21
                                              )    Courtroom: 7C, First Street Court
22                                            )               House
                                              )    Judge:     Cormac J. Carney
23

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                                                                 Case No. CV 91-0589 RJK (Ex)
                                                                           Certificate of Service
Case 2:91-cv-00589-CJC Document 679 Filed 07/10/20 Page 2 of 3 Page ID #:6843



 1                             CERTIFICATE OF SERVICE
 2
           I hereby certify that on July 10, 2020, I sent by electronic mail: 1) United
 3

 4   States’ Notice of Motion for Partial Summary Judgment as to the Amount of

 5   Recoverable Response Costs, 2) United States’ Memorandum of Points and
 6
     Authorities in Support of Its Motion for Partial Summary Judgment as to the
 7

 8   Amount of Recoverable Response Costs, 3) United States’ Statement of
 9   Uncontroverted Facts and Conclusions of Law in Support of United States’ Motion
10
     for Partial Summary Judgment as to the Amount of Recoverable Response Costs,
11

12   and 4) [Proposed] Order on Motion for Partial Summary Judgment as to the
13   Amount of Recoverable Response Costs to:
14
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17   San Francisco, CA 94105
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                                               2
                                                                   Case No. CV 91-0589 RJK (Ex)
                                                                             Certificate of Service
Case 2:91-cv-00589-CJC Document 679 Filed 07/10/20 Page 3 of 3 Page ID #:6844



 1

 2                               Respectfully submitted,

 3                               /s/ William A. Weinischke
 4                               William A. Weinischke
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                                                                       Certificate of Service
